Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 1 of 21




                          EXHIBIT 2
          To Defendant’s Motion for Summary Judgment

                 Declaration of Kenneth A. Bibb
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 2 of 21
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 3 of 21
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 4 of 21
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 5 of 21
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 6 of 21
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 7 of 21
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 8 of 21
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 9 of 21
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 10 of 21
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 11 of 21
                   Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 12 of 21
Kim 3. Baucom

From:                            Kim B. Baucom
Sent:                            Tuesday, September 04, 2018 3:31 PM
To:                              GDWB
Subject:                         Account Reminder


Please remember that as an employee     ofthe bank, you are not permitted to make   changes to anything pertaining   to
relatives or immediate family members. This includes teller transactions, account transfers, and any maintenance changes
including loans. lf you find something that needs to be changed, please have someone else in the necessary department
handle the change. Feel free to let me know if you have any questions or concerns about a transaction.

Tha nks   !




KivvfurLg B. Bu,r.e-aw.,            AAP
Vice President of Operotions
fnternol Auditor / Asst . BSA Officer
Enterprise Risk Monoger
Fhe Geo. D. Worthen Bonk
216 N. Horris 5t
Sondersville. GA 31082
478-552-6906
478-553-096r Ext.2013
Fax 478-552-2728




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                                                                                                   GDWB 000446
                                                                                                         Ex. A
     Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 13 of 21




From:                  Debra Helton
Sent:                  Sat, 23 Mar 2019 00:07:49 -04:00
To:                    Ken Bibb
Subject:               Re: FDIC Compiance Exam Response


I will call her no problem. I have been in conversations with John Henwood and Matias Cerda on
several different issues and the response has completely slipped my mind. It will be in the mail
on Tuesday. I will call her Tuesday without fail.

Sent from my iPhone

On Mar 22, 2019, at 2:09 PM, Ken Bibb <kbibb@gdwbank.net> wrote:


      Debra,

      Ms Adger from the FDIC called today to follow up on the compliance exam response that
      was due on March 1st. I told her I would speak with you about it and have you return her
      phone call. Could you please call her at 678-916-2422. I told her you were out of the bank
      and would call her as soon as you got back, so please try to do this first thing Tuesday
      Morning when you return and let me know that you have made the call. Also, please
      complete the response and copy me so that I can have for my records. If for some reason
      you are not able to do this please let me know so that I can follow up with Ms Adger.

      Thanks,

      Kenneth A. Bibb
      President
      The Geo. D. Warthen Bank
      PO Box 637
      Sandersville GA 31082
      Ph 478-552-6901 FAX 770-234-6744




                                                                                                   Ex. B
                                                                                                       GDWB_000801
             Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 14 of 21




october 16,2019



On April 11, 2019, Debra Helton was the officer in charge of closing the bank. tt was sometime after
5:00 when she came to the teller line. A teller in the drive-thru was having problems balancing and had
called inside needing assistance. Sincethis isoneof the closing officer responsibilities, Debrawasasked
if she would go to the drive-thru and recount the telle/s drawer. At that moment, she replied, "SHlf,           I

have a "DAMN" appointment. Afterwards, she stormed out and went to the drive-thru. The incident
was very upsetting to several of the tellers, and one made the remark "l don't work well when people
are using profanity and yelling at me". The department supervisor was on the phone with the bank's
processor at the time     ofthe outburst.   She noticedthe tellers'reactions and tried   toallaythe situation
by replying, "Don't take it personaleveryone, because no doubt Debra's upset with me because I
refused to close the bank this afternoon for her". The following witnesses were present during this
incid   e   nt:

1. Belinda Salisbury

2. Pat Herringdine
                                                                   0/4{24-        a
3. Starkayla Wiley                                                      /54
4. Alice Mathews (Head Teller)                                                rn    hu*
5. Jimmy Lewis (Ma intenance)
                                                        N,JtlZuo
                                                        afiuLb
                                                                                -r,{zb//
6. Denise Griswell (Dept. Supervisor)                                  drubA/tt- w
                                                       dW ahl rvtatlrunfrra
                                                       fi^frau * h4g.aar6z rb
                                                                U*lAa4t'a
B an    ng Officer of Teller    rations




                                                                                              GDWB 000470
                                                                                                    Ex. C
        Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 15 of 21




                               DISPLINARY WARNING




DATE ISSUED                 May 73,2019

ISSUED BY:                  Ken Bibb

ISSUED TO:                  Debra D. Helton

EMPLOYEE'S    POSITION: VicePresident/ComplianceOfficer


This warning is being issued to you as a result ofyour violation ofcertain bank policies.
Specifically, the bank's policy with regard to an employee either transacting their own bank
business or that of a relative. The bank's EMPLOYEE HANDBOOK sets forth the following:

"All employees should assume the position of a regular customer when handling their
personal bank business. All transactions should be handled in the normal over-the-counter
procedure. No employees will be permitted to transact their own or a relative's bank
business (including boyfriend, girlfriend, or partner). "

The attached information sets forth the dates ofpersonal bank business and the
transactions performed byyou on each date in violation ofthe bank's policy with regard to
same.

Ellective immediatelv. you are expected to adhere to this policy and refrain from such
behavior going forward. Failure to demonstrate immediate and sustained compliance with
regard to bank policy will result in further disciplinary action, up to and including
dismissal.


By your signature below, you acknowledge this violation and what is expected ofyou in the
future.


DATE:   5- t3'            ot                      [,,ta           bw*
                                       Emp oye         ignature


DATE:    5- t3- )0 t?                    u    rvlsor




                                                                            GDWB 000466
                                                                                      Ex. D
        Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 16 of 21

EX]IIBI'I I'A"                                RE:   DEBRA HELToN   ***-+*-0242


llondal', l\ta1 I3,20M

Ill::   l)iscil)linar)' ltrarning   /   Dcbra Helton



Ken Bibb, Lanlar l)oolittle and I mct rrith Dcbra this morning to discuss a policl'
violation as ncll as olher points of concern. 'fhc policl' r'iolation had ro do
\\'ilh hcr transacting hcr orrn business or that of hcr famill'members' Sce
ilt tached.

In furlhcr discussion, Ken adviscd t)ebra that she is to f'ocus c<lmplctell'on her
cornplrance (luties ilnd to leavc the othcr department heads to handle their arca
ol responsibilit)'. II(: ['urthcr statccl that her loan portfolio rvould be ditided up
arnong othcr loan <lfl'iccrs in rhc ncar futurc, so that shc could focus prirnarily
t>n cornplrancc issttcs only'.

Ik' rccmlrhasizcd thc irnportance of her bcing l)rcscnt at thc bank nrorc than
she has in thc grasl (i.t:. attending nlultiple confercnces, otlt sick or vacation
llcing I akerr consecutivc rvith conl'crcnccs).

Kt,n furthcr state(l that Banc l)ac mainlenance issues and/or thc setting up of
nov bank products rr'ould be delcgated to i\shlcy [{a},ntls, as thc Loan Ops
Itanag(:r, and she may'bc callcd upon the hclp .Ashlel' wi th taking on that ncrv
role. L.anrar has rcmovcd a considcrablc amount of admin privileges from
l)cbra anrl rr'ill nr<lnitor the issuc accordingly.

In lurthcr clrscussion, Kcn rcminded l)cbra that each of us should be respectful
rr'hen talking to our ft:llorr'co-n'orkcrs ancl that angrli outbursts rrjll not be
tolcratccl. Each bank rtfficcr is to nlaintain a professional and lcvclheaded
clcmcanor at all titnes.




                                                                                 GDWB 000310
     Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 17 of 21




Sent:                   Mon, 13 May 2019 11:03:49 -04:00
To:                     Ken Bibb (KBIBB@GDWBANK.NET)
Subject:                Debra


Good morning again.
I would like for you to think about this and let’s discuss.
You made the comment this morning that I had lost my enthusiasm for my job. You could not be more
right. This is a tough position and it is hard to work and keep a good attitude when you cannot get the
staff to make changes when they are needed. In my 38 years of working, I have never ever had the
problem with attitude that I do now. Yes I am the old person on the block but I still know what I am
doing.
We are adults and need to take our jobs seriously.

Debra D. Helton
AAP, ACT Specialist
Vice President/Compliance Officer
NMLS #433212

“It takes less time to do a thing right than to explain why you did it wrong.” Henry Wadsworth
Longfellow


The Geo. D. Warthen Bank
NMLS Co. ID# 408904
P. O. Box 637
216 N Harris St.
Sandersville, GA 31082

Phone – 478-552-6901 x 2009
Fax – 478-552-8517




                                                                                                          GDWB_000968
          Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 18 of 21




Date of   lncident:   7O/O7   /79

Background    lnfo: Debra      keeps fussing about the payment collection sequence for the loans. She wants
me to go in and make a hard code fix for the overpayments on commercial loans to where the default
for overpayments is "Principal, lnterest, Late Fees, Escrow". Right now it is defaulted to "Principal,
lnterest, Escrow, Late Fees". I have told her before that this is a non-issue and that the system would
know how to disburse any overpayments. lf the loan doesn't have escrow, it moves to the next option.
It doesn't make a difference which one is selected.


Today's Situation:
Debra came up to my office door raising her voice and talking in a condescending tone, and wanted to
know if I was going to change the payment collection for the loans. She proceeded to tell me that she
had talked  to Lamar, Ken, and me, and that no one would make the change. I reminded her again that
it works the same way no matter which choice is selected and that it was not causing any issues. She
told me that she is covering herself and that it needs to be right. She said she was tired of writing up the
change sheets for it and that it was a waste of time for her. I told her that it wasn't a compliance issue
and that she really didn't even have to worry about writing up a sheet for that. She told me, while
waiving her arms all around to my depa rtment, that "they" needed to do it right. I told her that they
aren't the only ones that add loans and that it could be someone else that was doing it. She said "well,
there needs to be some training"! We went back and forth about it until she finally walked out. She
went out to the lobby then came back here and turned off her light, closed her door, and said that she
would see us later. Then she left.


Situation during the week of September 23'd:
After I get back from vacation, I get informed by lvan and by Peggy (separately) that Debra had been
raising her voice at lvan about the rates on the ARM loans. She asked him about something with them
and when he told her, she got upset...l guess because he didn't go along with what she said. So she
starts hollering at hlm that they are all wrong and that Ashley can just worry about it.




                 I    o/7/

(2)   OTHER EMPLOYEES               IN   THE LOAN DEPARTI'IENT WITNESSED THIS ENCOUNTER:
                        IVAN GONZALEZ & PEGGY VEAL




                                                                                           GDWB 000472
                                                                                                 Ex. E
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 19 of 21




                                                                    Ex. F
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 20 of 21
Case 5:21-cv-00404-MTT Document 15-4 Filed 09/16/22 Page 21 of 21
